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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATESBORO DIVISION


UNITED STATES OF AMERICA,                )
                                         )
           Plaintiffs,                   )
v.                                       )     Case No. CR616-005
                                         )
RICARDO DOREZ HADDEN,                    )
                                         )
           Defendant.                    )

                                ORDER
      Application for leave of absence has been requested by J. Alvin

Leaphart, IV, for the periods of Thursday, September 15, 2016; Friday,

September 16, 2016; Wednesday, September 21, 2016 through and

including Sunday, September 25, 2016; Thursday, October 6, 2016

through and including Wednesday, October 12, 2016; and Thursday,

November 17, 2016 through and including Sunday, November 20, 2016.

      The above and foregoing request for leave of absence is approved;

however, the attorney must make arrangements for other counsel in the

event the case is scheduled for hearing or trial during such leave.

      SO ORDERED this 24th day of August, 2016.


                                     LINI= STATES MAGISTRATE ThTDGE
                                     SOUTFLEI4 DISTRICT OF GEORGIA
